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DECLARATION OF HIJRAN MALIK

|, Hijran Malik (A# ), hereby declare under penalty of perjury pursuant to 28 U.S.C. §
1746 that the following is true and correct.

1. | make this declaration based on my own personal knowledge and if called to testify | could
and would do so competently and truthfully to these matters.

2. Myname is Hijran Malik. |!am 21 years old and from Afghanistan. | came to the United
States in July 2024 to seek asylum due to threats from the Taliban. | have been in
immigration detention since entering the United States, and am currently detained in Eloy
Detention Center in Eloy, Arizona.

3. | was not represented by counsel during my removal proceedings. On January 6, 2025, | was
ordered removed to Afghanistan.

4. | heard that the U.S. government has started transferring people with final orders to the
military base at Guantanamo Bay, Cuba. | also heard the U.S. government is targeting
people they think are criminals or gang members, even if they have no proof.

5. | am afraid of being transferred to Guantanamo. | believe that | am at risk of being
transferred because | have a final order of deportation and am from Afghanistan.

6. |donotwantto be transferred to or detained at Guantanamo. | am afraid of what will
happen to me when | get there. | heard that there is no ability to contact lawyers or family
from Guantanamo. | wantaccess to an attorney to help me get out of detention and figure
out what options | have in my immigration case.

7. Everything in this declaration is true and correct to the best of my knowledge and
recollection.

Executed on the 28th of February, 2025 in Eloy, Arizona.

Hijran Malik

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